Dear Auditor Montee:
This office received your letter of July 21, 2009, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Charles W. Hatfield (version 3). The fiscal note summary that you submitted is as follows:
  It is estimated this proposal will have no costs or savings to state or local governmental entities.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
  Very truly yours, _________________________ CHRIS KOSTER Attorney General